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 1
                           UNITED STATES DISTRICT COURT
 2
                                DISTRICT OF NEVADA
 3

 4    EDWARD A. PRECIADO-NUNO,                 Case No. 3:19-cv-00103-HDM-WGC
 5                           Petitioner,
            v.                                 ORDER
 6
      E.K. MCDANIEL, et al.,
 7
                            Respondents.
 8

 9         Respondents’ second motion for enlargement of time (ECF No.

10    30) is GRANTED. Respondents shall have until November 9, 2020, to

11    file their answer to the petition in this case.

12         IT IS SO ORDERED.

13         DATED: This 18th day of September, 2020.
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                                        UNITED STATES DISTRICT JUDGE
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